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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


LEAD CASE:    3:17-cv-558-SRU    Ontario Teachers’ Pension Plan Board, et al. v. Teva Pharm. Indus.,
                                 Ltd., et al.

MEMBER CASES: 3:17-cv-1314-SRU   OZ ELS Master Fund, Ltd., et al. v. Teva Pharm. Indus., Ltd., et al.

              3:17-cv-1938-SRU   Huellemeier v. Teva Pharm. Indus., Ltd., et al.

              3:18-cv-798-SRU    Baker v. Teva Pharm. Indus., Ltd., et al.

              3:18-cv-800-SRU    Grodko v. Teva Pharm. Indus., Ltd., et al.

              3:18-cv-1681-SRU   Nordea Investment Mgmt. AB v. Teva Pharm. Industries Ltd., et al.

              3:18-cv-1721-SRU   Revenue, et al. v. Teva Pharm. Indus., Ltd., et al.

              3:18-cv-1956-SRU   Pacific Funds Series Trust, et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-175-SRU    Public School Teachers Pension and Ret. Sys. of Chicago v. Teva
                                 Pharm. Indus., Ltd., et al.

              3:19-cv-192-SRU    Schwab Capital Trust, et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-449-SRU    Phoenix Ins. Co., Ltd., et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-513-SRU    Mivtachim The Workers Social Ins. Fund Ltd., et al. v. Teva Pharm.
                                 Indus., Ltd., et al.

              3:19-cv-543-SRU    Clal Ins. Co., Ltd., et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-603-SRU    Highfields Capital I LP, et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-655-SRU    Migdal Ins. Co., Ltd., et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-656-SRU    Harel Pension and Provident Ltd., et al. v. Teva Pharm. Indus., Ltd.,
                                 et al.

              3:19-cv-657-SRU    Oregon v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-923-SRU    Migdal Mutual Funds, Ltd. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-1167-SRU   Psagot Mutual Funds, Ltd., et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-1173-SRU   Stichting PGGM Depositary, et al. v. Teva Pharm. Indus., Ltd., et al.

              3:19-cv-1768-SRU   Emps.’ Ret. Sys. of the City of St. Petersburg, Florida v. Teva Pharm.
                                 Indus., Ltd., et al.

              3:20-cv-83-SRU     Internationale Kapitalanlagegesellschaft mbH v. Teva Pharm.
                                 Indus., Ltd., et al.
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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

                                         NOTICE TO COUNSEL

The above-captioned cases have been ordered consolidated pursuant to an order entered by

Judge Stefan R. Underhill. This Notice lays out procedures—consistent with the Court’s order,

doc. no. 352—that will govern the procedural aspects of the consolidation:


   1. The clerk will maintain a LEAD CONSOLIDATED DOCKET SHEET AND FILE in case

       number 3:17-cv-558-SRU.

   2. All captions shall conform to the requirements of the Court’s Order. See Order, Doc. No.

       352, at ¶ 4.

   3. The parties and counsel from each member case will be added to the docket of the

       LEAD CONSOLIDATED DOCKET SHEET and the member cases will be closed without

       prejudice to the right of any party to move to reopen upon resolution of the LEAD case.

   4. All docketing shall be made ONLY on the LEAD CONSOLIDATED DOCKET SHEET.

   5. Any pending motions from the member cases will be re-docketed on the LEAD

       CONSOLIDATED DOCKET SHEET.

   6. In the event an appeal is taken by one or more parties from a decision or judgment of

       this court, or in the event copies of the file are needed outside the district for any reason,

       it shall be the duty of the requesting party to certify the record required. It shall

       then be the responsibility of counsel who originally prepared or filed any documents to

       furnish, upon request, sufficient copies to the clerk for transmittal of the record. Copies

       requested shall be furnished within ten (10) days.


Dated at Bridgeport, Connecticut, this 28th day of April 2020.



                                                ROBIN D. TABORA, Clerk

                                               By: /s/ Tasha Oliver

                                                        Deputy Clerk
